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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 COLLISION COMMUNICATIONS, INC.,               §
                                               §
        Plaintiff,                             §
                                               §
        v.                                     §           Case No. 2:21-CV-308-JRG
                                               §                  (Lead Case)
 NOKIA CORPORATION, NOKIA                      §
 SOLUTIONS AND NETWORKS OY, and                §           JURY TRIAL DEMANDED
 NOKIA OF AMERICA CORPORATION,                 §
                                               §
        Defendants.                            §
                                               §
 COLLISION COMMUNICATIONS, INC.,               §
                                               §
        Plaintiff,                             §
                                               §
        v.                                     §           Case No. 2:21-CV-327-JRG
                                               §                 (Member Case)
 TELEFONAKTIEBOLAGET LM                        §
 ERICSSON and ERICSSON INC.,                   §           JURY TRIAL DEMANDED
                                               §
        Defendants.                            §
                                               §
                                               §

                      THIRD AMENDED DOCKET CONTROL ORDER

       Before the Court is Plaintiff Collision Communications, Inc. (“Collision”) and Defendants

Nokia of America Corporation and Nokia Solutions and Networks Oy (collectively, “Nokia”), and

Telefonaktiebolaget LM Ericsson and Ericsson Inc.’s (collectively, “Ericsson”) (Nokia and

Ericsson together, “Defendants”) Joint Motion to Amend Docket Control Order (the “Motion”).

(Dkt. No. 97). Having considered the Motion, and noting its joint nature, the Court is of the

opinion that it should be and hereby is GRANTED-AS-MODIFIED. Accordingly, it is hereby

ORDERED that the following schedule of deadlines is in effect until further order of this Court:
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      Current        Amended                                    Event
      Deadline       Deadline

    January 2,     January 9,      *Jury Selection – 9:00 a.m. in Marshall, Texas
    2023           2023

    December 5,                    * If a juror questionnaire is to be used, an editable (in
    2022                           Microsoft Word format) questionnaire shall be jointly
                                   submitted to the Deputy Clerk in Charge by this date.1

    November 28,                   *Pretrial Conference – 9:00 a.m. in Marshall, Texas before
    2022                           Judge Rodney Gilstrap

    November 21,                   *Notify Court of Agreements Reached During Meet and
    2022                           Confer

                                   The parties are ordered to meet and confer on any
                                   outstanding objections or motions in limine. The parties shall
                                   advise the Court of any agreements reached no later than 1:00
                                   p.m. three (3) business days before the pretrial conference.

    November 21,                   *File Joint Pretrial Order, Joint Proposed Jury Instructions,
    2022                           Joint Proposed Verdict Form, Responses to Motions in
                                   Limine, Updated Exhibit Lists, Updated Witness Lists, and
                                   Updated Deposition Designations

    November 14,                   *File Notice of Request for Daily Transcript or Real Time
    2022                           Reporting.

                                   If a daily transcript or real time reporting of court
                                   proceedings is requested for trial, the party or parties making
                                   said request shall file a notice with the Court and e-mail the
                                   Court       Reporter,         Shawn        McRoberts,         at
                                   shawn_mcroberts@txed.uscourts.gov.

    November 9,                    File Motions in Limine
    2022
                                   The parties shall limit their motions in limine to issues that if
                                   improperly introduced at trial would be so prejudicial that the
                                   Court could not alleviate the prejudice by giving appropriate
                                   instructions to the jury.



1
 The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in
Advance of Voir Dire.



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      Current         Amended                                    Event
      Deadline        Deadline

    November 9,                      Serve Objections to Rebuttal Pretrial Disclosures
    2022

    November 2,                      Serve Objections to Pretrial Disclosures; and Serve Rebuttal
    2022                             Pretrial Disclosures

    October 19,                      Serve Pretrial Disclosures (Witness List, Deposition
    2022                             Designations, and Exhibit List) by the Party with the Burden
                                     of Proof

    October 14,     October 28,      *Response to Dispositive Motions (including Daubert
    2022            2022             Motions). Responses to dispositive motions that were filed
                                     prior to the dispositive motion deadline, including Daubert
                                     Motions, shall be due in accordance with Local Rule CV-
                                     7(e), not to exceed the deadline as set forth in this Docket
                                     Control Order.2 Motions for Summary Judgment shall
                                     comply with Local Rule CV-56.

    September 30,   October 14,      *File Motions to Strike Expert Testimony (including
    2022            2022             Daubert                                   Motions)

                                     No motion to strike expert testimony (including a Daubert
                                     motion) may be filed after this date without leave of the
                                     Court.

    September 30,   October 14,      *File Dispositive Motions
    2022            2022
                                     No dispositive motion may be filed after this date without
                                     leave of the Court.

                                     Motions shall comply with Local Rule CV-56 and Local
                                     Rule CV-7. Motions to extend page limits will only be
                                     granted in exceptional circumstances.     Exceptional
                                     circumstances require more than agreement among the
                                     parties.



2
  The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to
oppose a motion in the manner prescribed herein creates a presumption that the party does not
controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”
If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to Dispositive
Motions, the deadline for Response to Dispositive Motions controls.



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    Current           Amended                                    Event
    Deadline          Deadline

 September 26,     October 7,        Deadline to Complete Expert Discovery
 2022              2022

 September 15,     September 26,     Serve Disclosures for Rebuttal Expert Witnesses
 2022              2022

 August 24,        August 31,        Serve Disclosures for Expert Witnesses by the Party with the
 2022              2022              Burden of Proof

 August 15,        August 19,        Deadline to Complete Fact Discovery and File Motions to
 2022              2022 for          Compel Discovery
                   Nokia,

                   August 26,
                   2022 for
                   Ericsson and
                   Collision

 August 18,                          *Claim Construction Hearing – 9:00 a.m. in Marshall,
 2022                                Texas before Magistrate Judge Roy S. Payne
(*) indicates a deadline that cannot be changed without showing good cause. Good cause is
not shown merely by indicating that the parties agree that the deadline should be changed.

                                ADDITIONAL REQUIREMENTS

        Mediation: While certain cases may benefit from mediation, such may not be appropriate
for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
mediation within fourteen days of the issuance of the Court’s claim construction order. As a
part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
the Parties should set forth a brief statement of their competing positions in the Joint Notice.

        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
business days after briefing has completed. For expert-related motions, complete digital copies of
the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
than the dispositive motion deadline.



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        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
the local rules’ normal page limits.

       Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
“[o]n the first appearance through counsel, each party shall designate a lead attorney on the
pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the Court
an Order granting leave to designate different lead counsel.


        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:

(a)     The fact that there are motions for summary judgment or motions to dismiss pending;

(b)     The fact that one or more of the attorneys is set for trial in another court on the same day,
        unless the other setting was made prior to the date of this order or was made as a special
        provision for the parties in the other case;

(c)     The failure to complete discovery prior to trial, unless the parties can demonstrate that it
        was impossible to complete discovery despite their good faith effort to do so.

       Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
include a proposed order that lists all of the remaining dates in one column (as above) and the
proposed changes to each date in an additional adjacent column (if there is no change for a date
the proposed date column should remain blank or indicate that it is unchanged). In other words,
the DCO in the proposed order should be complete such that one can clearly see all the remaining
deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
version of the DCO.

       Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above under “Amendments to the Docket Control Order (‘DCO’).”

        Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff
shall also specify the nature of each theory of infringement, including under which subsections of
35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or
infringement under the doctrine of equivalents. Each Defendant shall indicate the nature of each
theory of invalidity, including invalidity for anticipation, obviousness, subject-matter eligibility,
written description, enablement, or any other basis for invalidity. The Defendant shall also specify
each prior art reference or combination of references upon which the Defendant shall rely at trial,
with respect to each theory of invalidity. The contentions of the Parties may not be amended,
supplemented, or dropped without leave of the Court based upon a showing of good cause.




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     So ORDERED and SIGNED this 17th day of August, 2022.




                                              ____________________________________
                                              RODNEY GILSTRAP
                                              UNITED STATES DISTRICT JUDGE




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